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EDULOG— Complete User List

Kings Local School District

5620 Columbia Road

Kings Mills, OH. 45034
Nancy Neeley
‘Transportation Coor.

(513) 398-5671

Total Students: N/A

Square Miles: N/A.

Implemented: N/A

Klein Independent School District
7200 Spring Cypress Road
Klein, TX 77379. ,

Gary Butler -

Transportation Director

(713) esiso.
Total Students: NIA
Square Miles: N/A.
Implemented: NIA

- Transportatio:
(317) 457-2974

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~- Kokomo-Center Township

Total Students: 8,300
Square Miles: 35
Implemented: 1989

School District of LaCrosse

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EDULOG-— Complete User List

Lafayette School Corporation
2300 Cason Street
Lafayette, IN 47904
Leon Dickson
Director of Extended Services
(317) 449-3248. :
Total Students: 7,200
Square Miles:30
Implemented: N/A

Lake Central School Corporation
$260 Wicker Avenue
St. John, IN 46373
Ed Wietecha
Director of Transportation
(219) 365-8507
Total Students: 7,700

_ (313) 693-5490 .
Total Students: 4,900 oe
Square Miles: 50. --.. .
Implemented: 1989 ~>

Lakeview Local School District
29300 Hillman Drive
Cortland, OH 44410
: Dick Raidel

Superintendent

(216) 637-8741
Total Students: N/A
Square Miles: N/A
Implemented: N/A

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‘ CONFIDENTIAL Page 24

Lake Washington School District
15212 Northeast 95th
Redmond, WA 98052
Alice Jordan
“Transportation Supervisor
206) 882-5120
Total Students: 21,000

(614) 687-7310
Total Students: N/A.

_, Square Miles: N/A
- “Implemented: N/A

- LaPorte Community School Corporation

1921 A Street

‘LaPorte, IN 46350

Jay Flick
Transportation Director
(219) 362-1023
Total Students: 6,500
Square Miles: N/A.

Implemented: 1988

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EDULOG-— Complete User List

Laramie County School District
2810 House Avenue
Cheyenne, WY 82001

Bradley G. Oberg

Director of Planning

(307) 771-2124 |
Total Students: 10,000
Square Miles: N/A.
Implemented: N/A.

Metropolitan School District of
Lawrence Township

7433 Bast 56th Street
Indianapolis, IN 46226
Don Inskeep.
Director of Transportation
(317) 543-5336
Total Students: 10,000
Miles: 48

Implemented: 1989

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CONFIDENTIAL Page 25

Lawrence Union Free School District -
195 Broadway, Room 105... -
Lawrence, NY 11559

Robert Pape

‘Transportation Director

(512) 259-0240
Total Students: N/A
Miles: N/A.

Director

(514) 654-8031,8029,8028
Total Students: 15,000 :
Square Miles: N/A.
Implemented: 1989

Liberty Local Schools’

4115 Shady Lane

Youngstown, OH. 44505 -
Paul McCombs
Director of Transportation
(216) 759-7450

_ Total Students: N/A

Square Miles: N/A

Implemented: N/A

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EDULOG—Complete User List

Livonia Public Schools
45125 Farmington Road
Livonia, MI 48154-5474
Charles R. Ritter
Assistant Director of Operations
(13) 523-8825
Total Students: 12,000

(213) 803-8538
Total Students: 5,000
Square Miles: 740
Louisville City Schools
418 Bast Main Street
Louisville, OH 44641

David Mancini

(216) 875-9687
Total Students: N/A
Square Miles: N/A
Implemented: N/A

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Madison Metropolitan School District
545 West Dayton Street . oS
Madison, WI 53703

John Gaffney

_ Systems Manager

(608) 266-6270
Total Students: 22,000
Square Miles: 65
Implemented: 1991

Manhattan-Ogden Public Schools
Unified School District #383
9031 Poyntz Avemue
Manhattan, KS 66502-3898
. John Mayberry ,
_ Director of Transportation

- (913) 537-0963
Total Students: 6,500
Squaié Miles: N/A
Implemented: 1990

Marion Community Schools -
1240 South Adams Street

Square Miles: N/A
Implemented: 1991

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EDULOG— Complete User List

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Martinez Unified School District Michigan City Area Schools
921 Susana Street 1100 South Woodland Avenue
Martinez, CA. 94553 Michigan City, IN 46360
Laird Neuhart Joyce Stark
Consultant - Director of Transportation
(415) 846-7007 © (219) 873-2127
Total Students: 3,400 . Total Students: 9,100
Square Miles: N/A Square Miles: 150
Implemented: 1990 Implemented: 1989
Mat-Su School District Middletown City School District
8C01 Box 6048, Room F10 1515 Girard Avenue :
Palmer, AK. 99645 Middletown, OH 45044
Saundra C. Hutchins Joe Di Staola .
Pupil Trans. Coordinator Director of Personnel & Facilities
(907) 746-9530 , (513) 423-0781
Total Students: 9,000 Total Students: N/A
Square Miles: N/A. Square Miles: N/A
. Implemented: 1990- Implemented: N/A
Medina Co: Board of Education Midview Local School District
144 N. Broadway Street 1097 Elm Street ot
Medina, OH 44256 - Grafton, OH 44044. .
‘Jim Boyes Al Gilder :
Assistant Superintendent . Administrative Assistant
(216) 723-6393 (216) 9263737
Total Students: N/A Total Students: N/A. ,
Square Miles: N/A’ * Square Miles: N/A , oe
‘Implemented: N/A Implemented: N/A pT
Merced City Elementary School District Milford School District
444 West 23rd Street . 906 Lakeview Avenuc
Merced, CA. 95340-3785 Milford, DE: 19963
Mike Smith _ Charlie Onusko
Data Processing Manager Transportation Supervisor
(209) 385-6708 (302) 422-1600
Total Students: 11,400 Total Students: 3,100
Square Miles: N/A Square Miles: N/A

Implemented: 1989

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Implemented: 1988

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EDULOG-— Complete User List CONFIDENTIAL Page 28 pn
Minnetonka Public Schools _.. Montgomery County Schools
261 School Avenue Regional Center
Excelsior, MN 55331 1831 Harshman Road
Jim Schmidt John Herner
ion Director Assistant Superintendent
(612) 470-3424 . (513) 236-9965
Total Students: N/A Total Students: N/A
Square Miles: N/A: - , “Square Miles: N/A
Implemented: N/A Implemented: N/A
Missouri Dept. of Elementary & Moore Public Schools
Secondary Education Voluntary 400 North Broadway
Desegregation Transportation Moore, OK 73160
7435 Watson Road Fd Nash
Kenrick Plaza, Suite 100A Director of Transportation
St. Louis, MO 63119 (405) 793-3091
. Dennis Hamann Total Students: 15,000
Supervisor of Deseg. Trans. Miles: N/A
(314) 962-5224 Iimplemented: 1989
Total Students: 16,000 . .
Miles: N/A "Moorhead Public Schools (LSD. #152)
Implemented: 1985 Townsite Center
vO , - 810 South 4th Avenue
Monroe County Community School = Moorhead, MN -56560
Sal wast Miller Driv Dan Bacon
: © Supervisor of ‘Transportation & Census
Bloomington, IN 47401 . (218) 236-6400 ext, 237
HarleyBel. =|... «Total Students: 5,500
- ‘Transportation Supervisor “Square Miles: N/A.’ ee pret te
(812) 330-7719 Implemented: 1988
Total Students: 11,000 ,
Square Miles: 350 Moreland Elementary School District
Implemented: N/A 4710 Campbell Avenue
San Jose, CA 95130
Kristine Sieben
‘Transportation Department:
(408) 379-1370
Total Students: 3,600
Square Miles: N/A

Implemented: 1991

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EDULOG— Complete User List CONFIDENTIAL Page 29 lp
Morgan Hill Unified School District _ New Rochelle City School District
105 Edes Court 515 North Avenus
Morgan Hill, CA. 95037 New Rochelle, NY 10801
Lucille Ball Betty Doherty
‘Transportation Director - Transportation Assistant:
(408) 779-8322 _ (914) 576-4230

Total Students: 8,700 Total Students: N/A

. Square Miles: N/A. Square Miles: N/A
Implemented: 1989 Implemented: NIA
Mukilteo School District #6 Norman Public Schools

. 9401 Sharon Drive 1133 West Main
Everett, WA 98204 Norman, OK 73069

Debbie Thompson Danny Lovett
i Data Processing Manager
(206) 356-1306 (405) 321-5014
Total Students: 7, Total Students: 1
Square Miles: N/A. Square Miles: N/A.
Implemented: 1989 ‘Implemented: 1990
Neshaminy School District North Allegheny School District
2001 Old Lincoln Highway 200 Hillbue Lane .
Langhorne, PA 19047 ~~ Pittsburg, PA 15237 Co
Beth Connolly Roger Botti . ..
tion Foreman Transportation Managet
(215) 752-6313 ()-
Total Students: 10,000 . Total Students: N/A
Square Miles: N/A - oo . Square Miles: N/A. -
Implemented: 1988 7 Implemented: N/A
Newburgh City Schools
424 Grand Street
Newburgh, NY" 12550
Art Brewer
Director of Transportation
(914) 561-3232
Total Students: 11,000
Square Miles: N/A

Implemented: 1988

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EDULOG— Complete User List CONFIDENTIAL Page 30 0 J
North Carolina Institute for Moore Reidsville
Transportation Research and Education Rocky Mount Rowan .

1100 Navaho Dr., 2nd Floor New Hanover Rutherford
Raleigh, NC 27609 Northampton Scotland
- ‘Derek S. Graham Onslow Stanly
Assistant Director Orange Stokes
(919) 878-8080 Chapel Hill «= Swain

Total Students: N/A ' Pasquotank Union
Square Miles: N/A Pender Monrose —

Implemented: NA Perquimants Vance

Districts: Person Wake

Alamance Cabarrus Pitt Warren

Burlington Kannapolis Washington Wilson

Ashe Caldwell Watauga Yadkin

Beaisfort Caswell Wayne Yancey

Washington Hickory Goldsboro ‘Wilkes

Bertie Newton .

Bladen Chatham North Clackamas School District #12

Brunswick Cleveland 4444 SE

Buncombs Kings Mtn. Milwaukie, OR 97267

Asheville Shelby Buck Klemm

Columbus Forsyth Director of

Whiteville Gaston (503) 653-3652

Craven Gates Total Students:-12,

Cumberland. Guilford Square Miles: A

Currituck Greensboro Implemented: 1988

Dare ‘ High Point

Davidson Halifx - North Colonie Central School District

Thomasville Roanoke Rapids © ~ Administration Building : °

Davis Weldon’ Newtonville, NY 12128

Duplin Hamett Robert Gara

Durham Handerson Business Administrator

Durham City Haywood (518) 785-8591

Iredell Polk Total Students: 4,600

‘Mooresville Randolph Square Miles: NIA

Statesville Asheboro Implemented: 1988

Johnston Richmond

Jones Robeson

Lee Rockingham.

McDowell Eden

Mecklenburg  W. Rockingham

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EDULOG— Complete User List

Northmont City Schools

4001 Old Salem Road

Eaglewood, OH 45322
Sharon Buttram
Transportation Supervisor
(513) 836-6005

Total Students: N/A

Square Miles: N/A

Implemented: N/A

North Olmsted City School District
24100 Palm Drive
North Olmsted, OH. 44070
Leonard Frick
ion Director
(216) 779-3582
Total Students: N/A
e Miles: NA
Implemented: N/A

North Penn School District
400 Penn Street
Landsdale, PA. 19446"
Andy Forsythe
Transportation Supervisor
(215) 368-9800
_ Total Students:.12,600
- Square Miles: NA
Implemented: 1989 _

North Ridgeville City Schools

35895 Center Ridge Road

North Ridgeville, OH 44059
Dr. Gordon E. Rodeen
Director of Admin. Services
(216) 327-4444

Total Students: N/A

Square Miles: N/A

Implemented: N/A

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North Thurston School District #3
6620 Carpenter Road © —
Lacey, WA 98503
Myrna Lance
Director of Transportation
(206) 493-9101

" ‘Total Students: 12,000, .

Miles: 74
Implemented: 1989

Northwest Local School District
8590 Eric Avenue North
Canal Fulton, OH 44614

Dennis Lambes

Northwest School District
4700 Poole Road
Cincinatti, OH. 45251
Larry Jones © oo.
tion. visor
(513) 385-8375
Total Students: N/A.
Square Miles: NIA
Implemented: N/A. “”

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EDULOG— Complete User List

North York Board of Education
15 Oakburn Crescent
North York, ON M2N 215

. CANADA

Norwich Central School District
112. S. Broad Street
Norwich, NY 13815

Leroy Burlison

rtation Director

(607) 334-3211
Total Students: N/A.
Square Miles: N/A
Implemented: N/A

Oakland Unified School District
4025 Second Avenue .
Oakland, CA 94606

Shirley Berg -

IBM Account'Representative .

(415) 464-5209
Total Students: 50,000 -
" Square Miles: N/A
Implemented: 1991

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Oceanside City Unified School District
2111 Mission.
Oceanside, CA. 9205 7

John Farr -

Fast Shore Center Maumee Valley

Eaton City Medina County =.
Bla - Metropolitan Daytom:. ...--.
Hilliard - Metro. Ed, Council
Middletown

Stark County Trotwood-Madison

Stow City Schools Twinsburg

Warren _ Westerville

Pickerington Northwest Local #1

Southwestern Northwest Local #2
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EDULOG— Complete User List

Ontario-Montclair Hlementary.
School District

950 West “D” Street
Ontario, CA. 91762
Hal Shimin
Director, Data Processing
(714) 983-9501
Total Students: 20,900
Square Miles: 26
Implemented: 1990

Oregon City School District #62

1417 12th Street
Oregon City, OR 97045

Maple Grove, MN 55369-
. Len Sutherland
’ Transporation Director
(612) 425-4131
Total Students: N/A
‘Square Miles: N/A
Implemented: 1991

Ossining Public Schools -
-190 Croton Avenue
Ossining, NY 10562-4599
Fran Collins
Supervisor of Transportation
(914) 941-7700
Total Students: N/A
Square Miles: N/A
Implemented: N/A.

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Ottawa Board of Education

662 Lyon Street
Ottawa, ON K1S 5G7

1c (GIS) 329-3706 Ua pean eae

Total Students: 7,400
Miles: 75
Implemented: 1990

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EDULOG— Complete User List

Paradise Unifled School District

5665 Recreation Drive

Paradise, CA 95969

, Wade Havens

Director of Transportation
(916) 872-6484

Total Students: 4,600

Square Miles: N/A

Implemented: 1989

Paradise Valley Unified
School District #69
15002 North 32nd Street
_ Phoenix, AZ 85032
Janette Bower
Director of Data Processing
(602) 867-5188 ,
Total Students: 23,000
Miles: 110
Implemented; 1988

Paramus Board of Education
. 145 Spring Valley Road
Paramus, NJ 07652
: Jerome Bohnert
_ Business Manager
(201) 261-7800
- Total Students: N/A: -
Square Miles: N/A
' Ioplemented: 1986

Parlavay School District

455 North Woods Mill Road

Chesterfield, MO 63017
Alfred F. Hedrick
Manager of Traisportation
(314) 851-8210

Total Students: 20,000

Square Miles: 68

Implemented: 1986

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Pasadena Independent School District
1515 Chesrybrook Road
Pasadena, TX 77502
Sandy Doolan
Secretary to Trans. Dir.
(713) 920-6807
Total Students: 35,000

' 4004 North 16th Avenue
Pasco, WA 99301-4098

Zeny Myers
‘Transportation Secretary
(509) §47-2510
Total Students: 6,000
Square Miles: NA
Implemented: 1990

Paso Robles School District

' Paulding County Schools

522 Hardee Street
Dallas, GA 30132
Joe Watson
Transportation Director
(404) 443-8000
Total Students: N/A.
Square Miles: NIA
Implemented: N/A

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EDULOG— Complete User List

“Pearl River School District

37 Franklin Avenue

Pearl River, NY 10965
Nicki Rivera -
Transportation Supervisor
(914) 735-4091

Total Students: 2,000

Square Miles: N/A

Implemented: 1988

Peel Board of Education
BLJ.A. Brown Education Centre
5650 Hurontario Street
Mississauga, ON LSB 1H5
CANADA
Ken Wilkins ,
Manager of Computer Services
-(416) 890-1099
Total Students: 83,000
Square Miles; N/A.
Implemented: 1988

Pekin Public School District #108

501 Washington Street
Pekin, IL 61554
Guy M. Cahill

- Director of Fisiance/ Operations

(309) 346-7276--
Total Students; 4,200
Square Miles: 100
Implemented: 1989

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Penn-Harris-Madison School Corporation
§5910 Bittersweet Road
Mishawaka, IN 46544
Dave Rowe
Director of Transportation
(219) 259-7941
Total Students: 7,200
Square Miles: 150
Implemented: 1989

Peoria Unified School District #11

Phillipsburg Board of Education
675 Corlis Avenus . oe
Phillipsburg; NJ 08865 7

Milton Bierman ext. 291

Business Administrator

(201) 454-4300
Total Students: N/A

Miles: N/A. - a cc eenm enue

Implemented: 1989 ,

Pickerington Local School District

aa 777 Long Road

Pickerington, OH 43147.
David Sheets
_ ‘Transportation Director
(614) 833-2110

Total Students: 3, 300
- Square Miles: N/A

Implemented: N/A

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EDULOG—Complete User List

Metropolitan School District of Pike

(317) 293-0393
Total Students: 5,500 ©
Square Miles: N/A
Implemented: N/A

Plain Local School District ~~
901 44th Street N.W. }
Canton, OH 44709

_ Business Manager
(216) 492-3500°
Total Students: NIA ©
Square Miles: N/A
Implemented: N/A

Plano Independent School District
600 Seabrook :
Plano, TX 75023

Rose Ann Dukes

Transportation Director
(214) 517-0086 ,
Total Students: 27,000
Square Miles: 105

Implemented: 1989

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Pleasanton Unified School District |
4665 Bernal Avenue re
Pleasanton, CA. 94566-7498
Dr. Buster R. McCurtain
_ Assistant Superi ent,

Pleasants County Schools

P.O. Box 210

St. Marys, WV 26170
Rockie Hall

Pocatello School District #25

3115 Pole Line Road uO

Pocatello, ID §3204-1390
Jerry Scaggs
Transportation Director
(208) 232-3563

_. Total Students: N/A.

Square Miles: N/A
Implemented: 1991

Poudre School District

2A07 LaPorte Avenue

Fort Collins, CO 80521-2297
Ron Spies
‘Transportation Director
(303) 490-3575

Total Students: 17,600

Square Miles: N/A

Implemented: 1986

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EDULOG— Complete User List

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Poway Unified School District Randolph Township Schools
13626 Twin Peaks Road School House Road
Poway, CA 92064-3098 Randolph, NJ 69
Tom Chaffin Harold Zofkin
Director of Transportation tion Supervisor -
(619) 748-7370 ext. 310 (908) 361-9410
‘Total Students: 21,100 Total Students: NA
Miles: 102: _ Square Miles: WA oat
Implemented: 1989 Implemented: N/A
Prince William County Public Schools Ravenna City School District
14800 Joplin Road 507 East Main Street
Manassas, VA 22110 Ravenna, OH 44266
Charles A. McLeod Ron snowberger
Supervisor, Real Property & Business Manager
Site Acquisition (216) 296-7159
(703) 791-7312 Total Students:
Total Students: Square Miles: A
Square Miles: 350 Implemented: N/A
Implemented: 1989 .
: Redlands Unified School District
Quincy Public Schools #172 956 Citrus Ave.
121 North 20th oe CA 92373-0302 - -
, IL, 62301 Bob DeGiacomo
Chuck Radel of Transportaiion
Director of Transportation (714) 798-3967
(217) 224-5910 Total Students: 15,900
Total Students: 7; . Square Miles:. .
Square Miles: 100 Implemented: 1990 ~
Implemented: 1990
Renton School District #403
Racine School District 435 Main Avenue South
2220 Northwestern Avenue Renton, WA 98055
Racine, WI 53404 Deems
Sharon Mack ‘Transportation Dispatcher.
Director of Transportation (206) 235-5813
(414) 631-6998 Total Students: 12,000
Total Students: 23,000 Square Miles: 35
Square Miles: 100 Implemented: 1988

Implemented: 1988

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EDULOG—Complete User List

Resa V (8 Districts) -
1210 Thirteenth Street
Parkersburg, WV 26101
James P. Lydon
Execative Director
(304) 485-6515
Total Students: N/A
Square Miles: N/A
Implemented: N/A
Pleasants County
Jackson County
" Roane County
Wirt County
- Calhoun County
Ritchie County
Tyler County
Wood County
Revere Local Schools
3496 Evertt Road
Bath, OH 44210-0340
' Peter Allison ~
_ Business Manager
(216) 861-8242
Total Students: N/A
Square Miles: N/A.
Implemented: N/A

Richfield LS.D. #280
7001 Harriet Avenue South
Richfield, MN 55423
Joy Korte
‘Transportation Specialist
(612) 861-82A2
Total Students: 4,200
Square Miles: N/A
Implemented: 1999

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_River Fails School District

B05 West Locust Street
River Falls, WI 54022
Ron Weishaar.
Supt. of Transportation
(715) 425-1808
Total Students: 2,000
Square Miles: N/A
Implemented: 1987 -

Riverside Unified School District
3380 14th Street - ,
Riverside, CA 92516
Dr. Paul Houston
Superintendent

Rochester Community Schools
380 S. Livernois
Rochester, MI 48063
Lori Richardson
Transportation Coordinator
(313) 651-4040
Total Students: 11,000
Square Miles: N/A
Implemented: 1990

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EDULOG— Complete User List

Rockdale County Public Schools

945 North Main Street

Conyers, GA. 30207-4480
Benson Plunkett
Director of Transportation
(404) 483-4713

Total Students: 10,000

Square Miles: NIA

Implemented: 1989

Rockingham County School District -
1210 North Liberty Street
artisonburg, VA. 22801

AJ. Botkin

Director of Transportation

(703) 433-2458
Total Students: 9,500

Joe Dragone .
Data Processing Manager -
(516) 255-8809
Total Students: 3,300.
. @ Miles: N/A
Implemented: 1987

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Rocky River City Schools
21600 Center Ridge Road -
Rocky River, OH 44116
R.W. Zinser © ,
Bixee. Dir. of Personnel &
Admin, Services
(216) 333-6000
Total Students: N/A
Square Miles: N/A
Implemented: N/A

Rosemount LS.D. #196

14445 Diamond Path
Gloria Rea ‘
Director of Transportation
(612) 423-7685

Total Students: 18,000

(612) 635-1600 ext. 235

‘Total Students: 6,500

Implemented: 1990

Roslyn Union Free School District
Harbor Hills Road
Roslyn Heights, NY 1175 6
Barbara Trant
Tansportation Supervisor
(516) 625-6324

_ Total Students: N/A

Square Miles: N/A
Implemented: N/A

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EDULOG—Complete User List

Sacramento City Unified School District
3101 Redding Avenue
Sacramento, CA 95820
John Haycox
Director of Transportation
(916) 454-6705
Total Students: 49,200
Square Miles: 67 .
Implemented: 1990 _

St. Boniface School Division #4

50 Monterey Road

Winnipeg, MB R23 1X1
Claude B. Huot
Transportation Supervisor -
(204) 253-2681

Total Students: N/A

Square Miles: N/A

Implemented: N/A

St.Francis LSD. #15
' 99968 Ambassador Blvd. NW
St. Francis, MN 55070
Judy Collins
TIES Coordinator.
(612) 753-2241
* Total Students: 4/600
Square Miles: N/A -
Implemented: 1990

St. Johns County School Board
30 Crookshank Drive.
St. Augustine, FL 32084
Duanne Fisher
Dir. of Transportation
(904) 829-0607
Total Students: N/A,
Square Miles: N/A
Implemented: N/A

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St. Vrain School District (Longmont)
395 South Pratt Parkway - soo
Longmont, CO 80501

James D. Alien ext. 253

Supervisor of ‘Transportation

(303) 776-6200 .
Total Students: 15,000
Square Miles: N/A
Implemented: 1987

Salden Bus Service (Chaska)
402 6th Street West —
Chaska, MN 55318 ©

Ed Salden

Vice President

(612) 448-2696

Total Students: 4,000
Square Miles:.N/A. -
Implemented: 1990

Salem City School District
402 6th Street West
Salem, OH. 44460
. Fréd Jones -
Dir. of Transportation
(216) 332-0316

- Total Students: N/A

Square Miles: N/A

Implemented: N/A ele phe eee

San Bernardino County Schools

601 North “E” Street _

San Bernardino, CA 92410-3093
Janice Noreen
Program Manager for
Transportation Facilities
(714) 387-4333

Total Students: 5,000

Square Miles: 24,000

Implemented: 1988

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EDULOG— Complete User List

Sandy Valley Local School District
Route 2
Magnolia, OH 44643
William Dieringer
Superintendent
(216) 866-3339
Total Students: N/A
Square Miles: N/A
Implemented: NA

San Jose Unified School District
1605 Park Avenue
San Jose, CA 95126
- Dee Presley
Dixector of ‘Transportation
(408) 998-6186
Total Students: 28,900
Square Miles: N/A
Implemented: 1986

San Luis Coastal Unified School District .

4499 San Luis Drive
“San Luis Obispo, CA 93495-8124
Alan Fillmore :
Data Processing Specialist
(805) 543-2010 ext. 1216
Total Students: N/A.
Square Miles: N/A
Implemented: N/A

San Mateo City School District

300 28th Avenue

San Mateo, CA. 94403
Richard J. Daineliao
Superintendent

. (445) 312-7777

Total Students: 8,800

Square Miles: 85

Implemented: 1990

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Santa Ana Unified School District
1405 French Street
Santa Ana, CA 92701-2499
Dr. Anthony Dalessi
Assistant Superintendent,
, rt Services
(714) 558-5578 -

_ ‘Total Students: 44,400

Miles: N/A
Implemented: 1990

Santa Clara Unified School District
P.O. Box 397 1889 Lawrence Road
Santa Clara, CA 95052,

Linda Ferreira

Saugus Union Elementary School District

‘2221 West Newhall Ranch Road

Saugus, CA 91350
George Gilbert
_ Director of Transportation
805) 297-8800 ext. 36

Hal Dibler .
Director of Transportation ,
_ (602) 852-2443

- Total Students: 20,000

Square Miles: N/A
Implemented: 1990

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‘ EDULOG— Complete User List

Seminole County School Board
1211 Mellonville Avenue
Sanford, FL 32771
Randy Johns

’ Director of Data Processing

* (407) 322-1252 ext. 310
Total Students: 45,000
Square Miles: N/A
Implemented: 1990

Shaler Area School District

1800 Mt. Royal Bivd.

Glenshaw, PA 15116

"Laois Condie

‘Transportation Supervisor
(412) 492-1210

Total Students: 6,500

Square Miles: N/A.

(414) 459-3581
- otal Students: 8,700
Square Miles: 100
Implemented: 1990

Sheffield-Sheffield Lake City
1824 Harris Road
Sheffield, OH 44054
- Dr. Donald Chiavetta

Superintendent

(216) 949-4202
Total Students: N/A
Square Miles: N/A
Implemented: N/A

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Sioux Falls School District #49-5
201 East 38th Strest =
Sioux Falls, SD 57117
Jerry Mayer
Coordinator of Student Services
(605) 331-7900
Total Students: 15,100

_ Square Miles: N/A.

Implemented: 4991

Smithtown Central School District
26 New York Avenue
Smithtown, NY 11787
George Kerst
‘Transportation Supervisor
(516) 361-2667
Total Students: N/A.
Miles: N/A.
Implemented: 1989

South Brunswick School District .
Sandra Kowalsky

Transportation Coordinator
(908) 297-7800

_ Total Students: 4,100

Square Miles: WA 0 2:

South Euclid-Lyndhurst .

5044 Mayfield Road

Lyndhurst, OH 44124
Stan Kohn
Transportation Director
(216) 691-2000

Total Students: N/A

Square Miles: N/A

Implemented: N/A

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(914) 359-3638
Total Students: 4,000
Square Miles: 14
Implemented: 1991

Metropolitan School Distriet of
Southwest Allen County .
4814 Homestead Road

19) 434-2423 -
Total Students: N/A
Square Miles: N/A
Implemented: N/A

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Miles: 129

"Implemented: 1989

° Southwest Licking Local School District ::

195 North Sth Street
Kirkersville, OF 43033
Alice Swartz

Asst. Superintendent
(803) 439-6326
Total Students: 5,100
Square Miles: N/A

" tmplemented: 199% ”

Spring Grove Area School District ,
RD #4Box462i
Spring Grove, PA 17362
Carol Hersh
Transportation Coordinator
(717) 225-4758
Total Students: 4,000
Square Miles: 97
Implemented: 1991

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EDULOG— Complete User List CONFIDENTIAL = Page 44 |
Spring Independent School District Springfield Local School District
Transportation Department 6900 Hall Street -
24037 Hardy Road Holland, OH 43528
Spring, TX TI3T3 Robert Moellenberg

Marcia Edge Treasurer ’

Director of Transportation (419) 866-2400

(713) 353-2332 Total Students: N/A
Total Students: 17,000 Square Miles: N/A.
Square Miles: 350 Implemented: N/A
Implemented: 1990.

. Springfield Public Schools
Springboro Community Schools 195 State Street
(Clearcreek School District) i MA 01103

_ 705 South Main Street Peter Hogan

Springboro, OH 45066 Director of Transportation
George Mourouzis (413) 781-7153
Director of Operations & Maintenance Total Students: 23,000
(513) 748-3955 Square Miles: NIA
Total Students: N/A Implemented: 1990
Square Miles: N/A .
Implemented: N/A: Stillwater LS.D. #834
oo 4875 South Greeley Street
Springfield, City of Stillwates,. MN 55082
225 Fifth Street Mike Brabender
Spingfield, OR 97471 rtation
Leitha Zeller (612) 439-7877
- Computer Applications Specialist Total Students: 8,000
“+. (503) 726-3614 | . Square Miles: NIA
‘Total Students NIA’ Implemented: 1990
Square Miles: N/A.
Implemented: N/A Stow City Schools .
, 1819 Graham Road
Stow, OH 44224
Michael Workman .
Transportation Supervisor
(216) 673-6550
Total Students: N/A
Square Miles: N/A.
Implemented: 1989

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EDULOG— Complete User List

Strathcona County Board of Education
2001 Sherwood Drive
Sherwood Park, AB T8A 3W7
CANADA

Ralph Schienbein ©

Director of Planning & Data Services

— (403) 464-8111
Total Students: 12,000
Miles: N/A
Implemented: 1987

Strongsville City Schools

60 EB. South Street

Bellbrook, OH 45305
Steve Fryburg =
Transportation Coor.
(513) 848-4029

Total Students: NIA

Square Miles: N/A

Implemented: N/A

Sumner County Schools

225 East Main Street

Gallatin, TN 37066
Larry Riggsbee
Director of Pupil Transportation
(615) 451-5200

Total Students: 19,600

Square Miles: N/A

Implemented: 1991

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Sycamore Community School District
4881 Cooper Road “
Cincinnati, OH 45242

Melissa Shea’

Systems Manager

(513) 791-4848
Total Students: N/A.
Square Miles: N/A
Implemented: N/A

Tacoma Public Schools

4002 South Cedar Street

Tacoma, WA. 98401-1357
Larry Skinner
Director of Transportation
(206) 596-1855

Total Students: 29,000"

Square Miles: N/A

Implemented: 1989

Thompson School District R2-J

Miles: N/A
Implemented: 1986 -

TIES Training Center
1925 West County Road B2

- Roseville, MN 55113

Janet Hennekens

Services Supervisor

(612) 638-2307
Total Students: N/A.
Square Miles: N/A
Implemented: NIA

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EDULOG—Complete User List

Tippecanoe School Corporation
21 Elston Road
Lafayette, IN 47905
Phillip Mugg
Director of Transportation
(317) 474-3443
Total Students: 7,700
Square Miles: NA |
Implemented: 1988

Trotwood-Madison City Schools

444 South Broadway
Trotwood, OH 45426

Tucson Unified School District
1010 Bast 10th Street
Tucson, AZ 85717-0400" *”
Bill Ball
Operations Supervisor
of Transportation
(602) 628-2360 ext. 054
" * ‘Total Students: 52,000 ee
- Square Miles: N/A. © ,
Implemented: 1989

Tupelo Public School District
201 South Green Street
Tupelo, MS 38801
Dr. Derwood Tutor
Assistant Superintendent
_ (601) 841-8858
Total Students: 6,000
Square Miles: N/A
Implemented: 1991

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Purchasing Agent

615 North Pontiac Trail
Walled Lake, MI 48390 oo

Square Miles: N/A
Implemented: N/A.

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EDULOG-— Complete User List

Warren Consolidated Schools |
31950 Mound Road
Warren, ME 48092
John Roeck
Director of Transportation
(313) 825-2960
Total Students: 15,400
Square Miles: 32 \
Implemented: 1990

Metropolitan School District
of Warren Township

9301 BE. 18th Street
Indianapolis, IN

David M. McCullough
Director of Transportation

17705 NW Springville Road
Portland, OR 97229
Gregory Thomas .
Information Service Coor.
(503) 690-5411

Total Students: 41,000..

Square Miles: N/A
Implemented: N/A

Washington Local School District
3505 West Lincolnshire Blvd.

Toledo, OH 43606

Mark Rule:
Transportation Department
(419) 475-8153
Total Students: N/A
Square Miles: N/A
Implemented: N/A

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Waterloo Cot Be
51 Ardelt Ave
Kitchener, ON
CANADA
Kathy Uing
Superintes
(519) 742-tm
Total Stud i iF i
Square Miles
Implementedagge9

Wayne Town
District a
4205 West Meum
Indianapoli a
Joyce Warm
Director fim
(317) 244g
Total Stade mam 12,000
Square Mil@gapO
Implementqgg991

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EA, Metropolitan School

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EDULOG- Complete User List

‘Weatherford Independent School District
118 North Denton
‘Weatherford, TX 76086
Bob Lee
Assistant Superintendent
(817) 598-2803 ~
“Total Students: N/A
Square Miles: N/A
Implemented: N/A

Weld County School District #6 (Greeley)
811 15th Street

(303) 353-5444 ext. 150
Total Students: 11,300

(516) 321-3076
Total Students: N/A
Square Miles: N/A
Implemented: NIAC

‘West Baton Rouge Parish School District
670 Rosedale Road
Port Allen, LA 70767
Greg Grimes
Director of Transportation
(504) 343-8343 or 8344
Total Students: 5,000
Square Miles: 150
Implemented: 1990

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West Bloomfield Public Schools
3250 Commerce Road -

Wheaton-Warrenville Public Schools
(Community School District #200)

130 West Park Avenne
Wheaton, IL. 60187. 6456

«wheellng” Ohio County Schools
7203 National Road
Wheeling, WV 26003
Jesse Burris
Dir. of Transportation
(304) 243-0300
Total Students: N/A

" Square Miles: N/A

_ Implemented: N/A

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Page 49 New
White River School District #416 Wyandanch Union Free School District
240 North “A” Street Straight Path School oo -
Buckley, WA 98321 Wyandanch, NY 11798

Earl Storm Leo Hardy —

Transportation Supervisor Transportation Supervisor -

(206) 829-0600 ’ (516) 491-1058
Total Students: 3,000 Total Students: N/A.

Square Miles: N/A moe, Square Miles: N/A.
Implemented: 1990 mY Implemented: N/A
Wichita Public Schools , Xenia City Schools vo
3850 North Hydraulic 578 East Market Street
Wichita, KS 67219 Xenia, OH 45385 —

Loma A. Rust James Smith

Supervisor, Transportation Services, Coordinator of Pupil Services

(316) 833-2190 (513) 376-2961
Total Students: 80,000 Total Students: 10,000
Square Miles: 155 Square Miles: 127
Implemented: 1991 Implemented: 1989
‘Windham Public Schools
322 Prospect Street
Willimatic, CT: 06226 °

Cari LaMar

Business Adminstrator

(203) 423-8401
Total Students: 2,000

. Miles: N/A
Implemented: 1989 -
_ ‘Wirt County Schools
‘193 Mulberry Street
Elizabeth, WV 26143

Doug Hill

Dir. of Transportation

(304) 275-4279

Total Students: N/A
Square Miles: N/A
Implemented: N/A

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Youngstown City School District
20 West Wood Street
Younstown, OH 44503
Bill Volosin
Assistant Business Manager
(216) 744-6909
Total Students: N/A.
Square Miles: N/A
Implemented: NIA

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Durham Transportation, Inc.
17878 Castleton Street
Industry, CA 91748
Dave Delamotte
Vice President,
Corporate Development
(818) 854-1590
755 Peralta -
San Leandro, CA 94577
Eric Ordway
General Manager
(510) 562-0803

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SCHEDULE D

Escrow Agreement

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SCHEDULE §

First Right of Refusal Agreement

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United States, Canada, South Africa, Australia, Japan or any jurisdiction in which the same would
be unlawful. This announcement is not an offer of securities in the United States, Canada, South
Africa, Australia, Japan or any jurisdiction in which the same would be unlawful.

FirstGroup ple
9 February 2007

FirstGroup ple (“FirstGroup” or the “Company”)

Acquisition of Laidlaw International, Inc.

The board of directors of FirstGroup (the “Board”) today announces that FirstGroup has signed an
agreement (the “Acquisition Agreement”) for the acquisition of Laidlaw International, Inc.
(“Laidlaw”) (the “Acquisition”) for: $35.25 per ordinary share of Laidlaw in cash, equivalent to a
total consideration of $3.6 billion (£1.9 billion) including the refinancing of Laidlaw’s existing debt.
Upon completion, the Acquisition will create North America’s leading transport services company.
The Acquisition has been unanimously recommended by the boards of both companies.

The acquisition price of $35.25 per ordinary share of Laidlaw represents a premium of 11 per cent.
to the closing price of an ordinary share of Laidlaw of $31.72 on 8 February 2007 the last business
day before this announcement and the total consideration of $3.6 billion represents a multiple of 7.7
times the EBITDA of Laidlaw for the financial year ended August 2006 of $466.3 million.

The Board believes that there are significant strategic and financial benefits to be gained from the
acquisition of Laidlaw in terms of scale, product offering and position in the North American
transport market, as well as an opportunity to create value through synergies. :

Specifically, the Board expects that the Acquisition will:

* ‘enable FirstGroup to develop farther its position in North America, consistent with
FirstGroup’s strategy of growing the earnings of the business, inter alia, by selective
acquisition . co

* provide a strong platform for FirstGroup to derive further economies of scale and offer
consistent standards of quality and service to customers in both the public and private sector
in North America .

© generate approximately §70 million of annualised pre-tax cost savings in the first full
financial year following its completion -

¢ be earings enhancing in the first full financial year following its completion ©

The cash consideration for the Acquisition (including the repayment of existing debt of Laidlaw) of
$3.6 billion (£1.9 billion) will be satisfied through a combination of debt and equity finance. The
debt portion will be financed from new committed bank debt facilities of $3.75 billion (£2.0
billion). The equity portion of approximately $750 million, which is supported by an equity bridge

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facility of that amount, will be financed from a placing of new ordinary shares to raise
approximately £200 million announced separately today ‘and a subsequent equity issue of
approximately £175 million which is expected to take place shortly after completion of the
-Aoquisition. .

The Acquisition is conditional upon, amongst other things, the approval of the shareholders of both
FirstGroup and Laidlaw and receipt of necessary anti-trust approvals in the US.

Further details regarding the Acquisition ' and Laidlaw are set out in the full text of the
announcement of which this summary forms part.

Martiti Gilbert, Chairman of FirstGroup, commented:

“This acquisition marks an important new phase in the development of the group’s business. Asa
consequence of the strengthening of our North ‘American activities, we will create additional value
for our shareholders.”

Moir Lockhead, Chief Executive of FirstGroup, added: .
“FirstGroup’s acquisition of Laidlaw will considerably enhance the group’s existing activities in
North America, which themselves have grown strongly since we first invested in the US in 1999.
The improved earnings and strong cashflows arising from the acquisition will strengthen the
Group’s position, FirstGroup aims to be the leader in delivering safe, reliable, innovative and
sustainable transport services, We Jook forward to welcoming our new colleagues in North
America to the Group and working with them to integrate the businesses. Laidlaw is an established,
well rm company that shares our commitment to safety and delivering high quality services to the
customers and the communities we serve.”

Kevin Benson, President and Chief Executive Officer of Laidlaw added:

“This transaction represents an excellent opportunity for our employees and stockholders. The

combination of Laidlaw and FirstGroup will bring together two well-known brands and two well-

respected companies that share a very strong focus on employee and customer satisfaction. Iam

delighted to recommend this transaction to our stockholders.” ,

An analyst meeting to discuss the Acquisition will be held at 9.00am GMT today at the offices of
‘JPMorgan Cazenove, 20 Moorgate, London, EC2R 6DA. An interview with Moir Lockhead, Chief
_ Executive of FirstGroup ple, can be ‘seen at www firstgroup.com and -www.cantos.com.

ENQUIRIES:

FirstGroup . . :

Moir Lockhead, Chief Executive Tel: +44 (0) 207 291 0505
Dean Finch, Finance Director Tel: +44 (0) 207 291 0512
Rachael Borthwick, Corporate Communications Tel: +44 (0) 207 291 0508 —
Director . :

JPMorgan Cazenove . Tel: - 4-44 (0) 207 588 2828

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(Financial advisers & broker to Fi irstGroup)
Ian Hannam ,

Malcolm Moir

Edward Banks

Tricorn Partners Tel: +44 (0) 207 823 0888
(Financial advisers to FirstGroup) ,
Justin Dowley

’ UBS

(Broker to FirstGroup) .

Robert Jennings Tel: +44 (0) 20 7568 2809
Christopher Smith , Tel: +44 (0) 20 7568 4389

Branswick Tel: +44 (0) 207 404 5959
(PR for FirstGroup)

Giles Croot

Craig Breheny

Laidlaw - Tek, +1 630 848 3120
Kevin Benson, Chief Executive Officer
Sarah Lewensohn, Director, Investor Relations

Morgan Stanley

(Financial advisers to Laidlaw)

William Strong Tel: +1 312 706 4400
Frank Oelerich Tel: +1 312 706 4444

JPMorgan Cazenove Limited (“JPMorgan Cazenove"), which is authorised and regulated in the
United Kingdom by the Financial Services Authority, is acting exclusively as financial adviser and
corporate broker for FirstGroup and no one else in connection with the Acquisition and will not be
responsible to anyone other than FirstGroup for providing the protections afforded to its clients or
for providing advice in relation to the Acquisition or in relation to the contents of this
announcement, or for any other transaction, arrangement or matters referred to in this
announcement.

Tricorn Partners (“Tricorn”), which is authorised and regulated in the United Kingdom by the
Financial Services Authority, is acting exclusively as financial adviser for FirstGroup and no one
else in connection with the Acquisition and will not be responsible to anyone other than FirstGroup
for providing the protections afforded to its clients or for providing advice in relation to the
Acquisition or in relation to the contents of this announcement, or for any other transaction,
arrangement or matters referred to in this announcement.

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UBS Limited (“UBS”) is acting exclusively as corporate broker for FirstGroup and no one else in
connection with the Acquisition and will not be responsible to anyone other than FirstGroup for
providing the protections afforded to its clients or for providing advice in relation to the Acquisition
or in relation to the contents of this announcement, or for any other transaction, arrangement or
matters referred to in this announcement.

Morgan Stanley & Co. Inc. (“Morgan Stanley”) is acting exclusively as financial adviser to Laidlaw
and no one else in connection with the Acquisition and. will not be responsible to anyone other than

. Laidlaw for providing the protections afforded to its clients or for providing advice in relation to the
Acquisition or in relation to the contents of this announcement, or for any other transaction,

arrangement or matters referred to in this announcement.

Certain statements in this announcement are forward-looking statements. Such statements speak
only as at the date of this announcement, are based on current expectations and beliefs and, by their
nature, are subject to a number of known and unknown risks and uncertainties that could cause
actual results and performance to differ materially front any expected future results or performance
expressed or implied by the forward-looking statement. The information contained in this
announcement is subject to change without notice and neither FirstGroup, JPMorgan Cazenove,
Tricor, UBS nor Morgan Stanley assumes any responsibility or obligation to update publicly or
review any of the forward-looking statements contained herein.

No statement in this announcement is intended to be a profit forecast or to imply that the earnings of

FirstGroup for the current year or future years will necessarily match or exceed the historical or
published earnings of FirstGroup or Laidlaw. :

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FirstGroup ple (“FirstGroup” or the “Company”)
Acquisition of Laidlaw International, Inc.
L Introduction

The Board today announces that FirstGroup has signed an Acquisition Agreement for the
acquisition of Laidlaw, the leading operator of school and inter-city bus transportation and a
supplier of public transit services in North America. Under the tenns of the Acquisition
Agreement, FirstGroup will pay consideration of $35.25 per ordinary share of Laidlaw in cash,
equivalent to a total consideration of approximately $3.6 billion (£1.9 billion) including the
refinancing of Laidlaw’s existing debt.

2. Information on Laidlaw

Laidlaw is the leading operator of school and inter-city bus transportation and a supplier of public
transit services in North America. Laidlaw group businesses operate recognised brands, including
Laidlaw Education Services, Greyhound Lines and Greyhound Canada (“Greyhound”), and Laidlaw
Transit. Laidlaw’s shares trade on the New York Stock Exchange.

For the financial year ended 3] August 2006, Laidlaw had revenues of $3.1 billion (£1.6 billion)
and operating profit of $250.5 million (£132 million), As at 31 August 2006 Laidlaw had gross
assets of $3.0 billion (£1.6 billion). : °

Laidlaw operates in three reportable business segments that provide transportation services in the
United States (approximately 84% of revenue).and Canada (approximately 16% of revenue):

(3) Education Services (approximhately 50% of revenue);
(i) | Greyhound (approximately 40% of revenue); and

(iii) Public Transit (approximately 10% of revenue),
The Education Services segment (“Education Services”) provides school bus transportation,
including scheduled home-to-school, extra-curricular and charter and transit school bus services,
throughout the United States and Canada. Greyhound, a natignal provider of inter-city bus
transportation in the United States and Canada, provides scheduled passenger service, package
-delivery service and charter bus services. The Public Transit segment (“Public Transit”) provides
fixed-route municipal bus services and paratransit bus transportation for riders with restricted
mobility. For the year ended 31 August 2006, approximately 84% and 83% of Laidlaw’s revenues
and EBITDA, respectively, were generated in the United States, with the remaining 16% and 17%
generated in Canada.

(i) Education Services

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Laidlaw’s Education Services segment is the leading independent school bus operator in North
America. The segment operates in 37 states in the United States and 6 provinces in Canada.
Headquartered in the Chicago suburb of Naperville, Education Services operates school buses and
special education vehicles, primarily under the name Laidlaw Education Services in North America,

The Education Services business is composed of three core activities (home-to-school, extrar
curricular and charter & transit) as well as the non-core activities of equipment leasing, logistical
support, maintenance agreements and other support services,

Education Services has contracts with more than 1,000 school boards and districts in North
America, Education Services has approximately 450 operating locations in Canada and the United
States, providing transportation for approximately 2 million students each schoo! day. The fleet
consists of approximately 41,000 buses. For the twelve months ended 31 August 2006, Education
Services generated $1.58 billion in revenues and $294.5 million in EBITDA.

(ii) Greyhound my ,

- Greyhound is the only national provider of scheduled inter-city bus transportation services in the
United States and Canada. Greyhound’s operations are headquartered in Dallas, Texas. Greyhound
serves the value-oriented customer by offering scheduled passenger services to approximately 2,400
destinations throughout the Unriited States and Canada, carrying approximately 24 million
passengers annually. Greyhound also provides package express services and charter bus services.
For the twelve months ended 31 August 2006, Greyhound generated $1.24 billion in revenue and
$152.1 million in EBITDA. .

(iii). Public Transit

Laidlaw’s Public Transit business is a leading private provider of municipal public transportation
services in North America, specialising in paratransit (transportation for mobility-challenged
individuals) and fixed-route (municipal transit) contract services, Headquartered in Overland Park,
Kansas, the segment operates under the name Laidlaw Transit Services. Laidlaw Transit Services
also operates under the name SafeRide Services in Phoenix, Arizona. Revenue is mainly driven by
contracts with regional and municipal transit authorities. As of 31 August 2006, Public Transit had
nearly 130 municipal transit and paratransit contracts, involving 40 million passengers carried
annually, and a fleet of approximately 3,400 vehicles, approximately ‘71% of which are client
owned, For the twelve months ended 3] August 2006, Public Transit generated $308.2 million in
revenues and $19.7 million in EBITDA.

Public Transit operates at approximately 88 locations in 23 states and transports more than 40 ©
million passengers per year.

3. Background to and reasons for the Acquisition
FirstGroup’s strategy is to maintain and develop its role as a leading global transport provider, it

has pursued, for some years, a strategy of improving shareholder retums through organic growth
and by selective acquisitions in the UK and North America, The Acquisition is consistent with this

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strategy and is expected to be eamings enhancing in the first full financial year following
completion.

a) Background

In 1999, ag part of its strategy to develop profitably its business outside the UK, FirstGroup’
- acquired the US based Ryder Public Transportation Services, Inc. (“Ryder”), & business. primarily

involved in student transportation but also involved in transit contracting and management and fleet

maintenance and ancillary services. This represented FirstGroup’s first large US investment.

FirstGroup has successfully integrated Ryder, and grown its business in North America (both
organically and by acquisition) from a turnover of $683 million, in its first full financial year of
operations, to 2 business which reported turnover of $1,476 million in the year ended 31 March
2006, and which has continued to grow since then, Over the period since 1999 FirstGroup has built
avery experienced US management team. .

The US school bus market is highly fragmented, with bus services predominantly run by school
boards. The Board estimates that of the 500,000 school buses in North America, approximately
350,000 are in the public sector and are still the direct responsibility of, and are operated by, the
school district authorities,

FirstGroup's involvement in the US transit market consists largely of “Fixed Route” contracts to

opefate and manage urban bus services on behalf of state transit authorities and “Paratransit”

services contracts to provide transport for passengers with restricted mobility and manage call

centre operations for these services. The combined Fixed Route and Paratransit markets are

estimated to be worth approximately $15 billion, of which some $13 billion is in the public sector
and some $2 billion in the outsourced private sector.

b) Strategie rationale

The Board believes that, in bringing together FirstGroup and Laidlaw, it will create a stronger, More —
robust business, in what is still a fragmented market, that is capable of prowing its earnings through
improved operating efficiencies and the extraction of substantial synergies. The enlarged group will
be able to improve its margin whilst being significantly cash generative. :

More specifically, FirstGroup is familiar with the school bus and transit markets in which Laidlaw
operates and has followed Laidlaw in an scquisition context for over two years. The Board of |
FirstGroup views the business as extremely attractive and will bring to FirstGroup:

1) Proven operations with respected management,
2) Diversified contract-backed revenues with over 1,400 contracts;
3) Established and tightly controlled cost base;
. 4) Healthy, organic growth opportunities; and
5) Strong cash generation, enabling the group to reduce leverage quickly.

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The Acquisition will be transformational in terms of developing FirstGroup’s position in the North
American transportation market. The combined business will employ over 98,000 staff in North
America,

In the North American school bus market, the lower cost base will enable the enlarged group to bid
for contracts more effectively and the Board of FirstGroup believes that its enhanced service
offering will benefit both the customers and the Company. It will also give FirstGroup the

opportunity to work more effectively with those school districts which continue to run their own
buses, by offering them a greater range of services bringing more operational and cost efficiencies.
The combined business will operate approximately 63,000 school buses in the US and Canada. It

_ will employ over 71,000 staff in, North America.

Since the acquisition of Ryder, FirstGroup has grown strongly in the transit contracting and

markets, The Acquisition will provide a strong platform for FirstGroup to offer further economies
of scale and importantly consistent standards of quality and service to its customers in both the
public and private sector. The combined business will employ over 12,000 staff in the US and
Canada.

FirstGroup considers Greyhound to be an attractive business with exciting growth prospects and
strong brand. Greyhound has a well-respected management team, who have re-shaped the business
in the last two years through network rationalisation. Greyhound is the only national provider of
scheduled intercity bus services in the US and Canada, employing over 11,000 staff, and is a
credible competitor to many other forms of mid to long distance transport. FirstGroup’s
management believes there is further scope to enhance revenues through yield management
systems, improved revenue. collection and optimisation. In addition, FirstGroup believes that
Greyhound’s marketing offering is relatively under-developed and as a consequence there is
significant scope to drive revenue growth, for example from longer term bookings.

However, Greyhound is a less obvious strategic fit with the rest of FirstGroup’s current business.
The Board of FirstGroup will therefore be carrying out a strategic review of Greyhound.

¢) Financial effects of the acquisition

The Acquisition will bring significant savings in both operating costs and capital expenditure.
FirstGroup estimates annual cost synergies to be approximately $70 million in the first full financial
year of ownership. The savings will.be achieved through:

1) rationalisation of the network and removal of overlapping operations;
2) removal of excess spare fleet;

3) reduction in equipment stock, such as spares;

4) sale of excess owned properties; ,

5) purchasing improvements; .

6) reduced insurance costs; and

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